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C ounsel far Debmrs, Rer:gr)r~l)yke.§‘
M()t{)rs, LP,' Ret:g()r~Dylces Im[)orfs, L P,'
Reagor-Dykes Anm.-'i!lo, LP; Reagr)r-Dykes
Autr) Camprmy, LP; Rengr)r~Dykes
Plru'nview, LP,' Rengc)r-Dykes Fl()ydmla, LP

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IN THE UNI'I`ED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS
LUBB()CK DIVISION

IN RE:
REAG()R-DYKES M()TORS, LP

Debtor.

Case No

. 18-50214~r[j11

 

IN RE:
REAG()R-DYKES fMPORTS, LP

l)ebtor.

Case No

. lS-S€]Zl$~rlj 11

 

IN RE:
REAGOR»I)YKES AMARILL.(), LP

Debtor.

Case No

. 18-50216-rlj11

 

IN RE:

REAGOR~DYKES AUTO COMPANY,
LP

Debtor.

Case No

. 18-50217-r1j11

 

IN RE:
REAGOR~I)YKES PLAINVIEW, LP

Debtor.

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Case No

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IN RE:

REAGOR-DYKES FLOYDADA, LP Case No. 18-50219~1'1}'11

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Debtor.

DEBTORS’ JOINT EMERGENCY MOTI()N FOR AUTHORITY
TO USE CASH COLLATERAL

 

TO THE HONORABLE ROBERT L. JONES, U.S. Bankruptcy Judge:

NOW COME, Reagor-Dykes l\/Iotors, LP. Reagor~Dyl<es lmports, LP, Reagor-Dykes
Amarillo. LP, Reagor-Dykes Auto Cornpany, LP, Reagor-Dykes Plainview, LP, and Reagor-
Dykes Floydada, LP (each a “Debtor,” and collectively, the “Debtors”), the Debtors in the
above-referenced bankruptcy proceedings and pursuant to Banl<ruptcy Rufe 4001(1')) file this
Debtors” Joint Emergency l\/Iotion for Authority to Use Cash Co}lateraf (“Motion“). ln support,
the Debtors Would show:

Summary of Relief Requested

This l\/lotion seeks interim use of cash collateral for a period of thirty (30) days to avoid
immediate and irreparable harm to the bankruptcy estates of the Debtors, and also requests the
Court to set a final hearing on the use ot`cash collateral.

Ford l\/lotor Credit Company ("`Ford") asserts a security interest in the Debtors inventory,
as Well as the proceeds, products rents1 issues and profits of such inventory, of the Debtors to
secure the repayment of various loans described below.

The cash collateral sought to be used in accordance with the requests set out in this
Molion will be used to pay pre-petition and post-petition Wages of the employees of the Debtors,

as Well as the normal day-to-day expenses of the Debtors’ operations such as payroll, oflice

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supplies utilities taxes rents, and repairs and maintenance lt also provides for the purchase of
inventory.

The Motion proposes to grant Ford replacement liens in the assets of the Debtors of equal
priority as its pre-petition liens

lee Debtors ’ Background

l. T he Debtors are T`exas limited partnerships which own and operate auto
dealerships in and around West Texas. The Debtors make up a part of what is known as the
Reag.or-Dyl<es Auto Group.

2. Reagor-Dykes Motors, LP operates two dealerships: Spil<e Dyl<es Ford l,incoln
in Larnesa, Texas and Reagor-Dyl<es Auto l\/lall in l\/lidland, Texas. Spil<e Dykes Ford Lincoln
sells both new and used vehicles Reagor-Dyl<es Auto l\/lall sells used vehicles Each location
also provides maintenance and service on vehicles for its customers Reagor-Dyl<es Motors, hP
has 80 employees

3. Reagor-Dykes lmports, LP operates two dealerships Reagor-Dykes Mitsubishi in
Lubbock, 'l`exas and Reagor-Dyl<es South in lsubbocl<:, Texas. Reagor-Dykes l\/Iitsubishi sells
both new and used vehicles Reagor-Dykes South sells used vehicles Reagor-Dykes l\/litsubishi
provides maintenance and service on vehicles for its customers Reagor-Dykes lmports, LP has
69 employees

4. Reagor-Dyl<es Amarillo, LP operates one dealership with two locations in
Amarillo, "l`exas. Reagor-Dykes Amarillo, LP operates Reagor-Dykes Mitsubishi of Amarillo. At
the Debtor`s south location, the Debtor sells both new and used vehicles At the Debtor’s north
location5 the Debtor sells used vehicles Reagor-Dyl<es Amarillo. LP provides maintenance and

service on vehicles for its customers Reagor-Dykes Amarillo, LP has 33 employees

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5. Reagor-Dyl<es Auto Company, LP operates one dealership, Reagor-Dyl<es Ford
Lincoln in Plainview, Texas Reagor-Dyl<es Ford Lincoln sells both new and used vehicles
Reagor-Dykes Auto Company, LP provides maintenance and service on vehicles for its
customers Reagor-Dykes Auto Company, LP has 61 employees

6. Reagor-Dykes Plainview, LP operates one dealership, Reagor-Dykes Toyota in
Plainview, Texas. Reagor-Dyl<es Toyota sells both new and used vehicles Reagor-Dykes
Plainview, LP provides maintenance and service on vehicles forlits customers Reagor-Dykes
Piainview, l,P has 35 employees

7. Reagor-Dyl<es Floydada, LP operates one dealership. Reagor-Dykes Chevrolet in
Floydada, Texas. Reagor-Dykes Chevrolet sells both new and used vehicles Reagor-Dykes
Floydada, LP provides maintenance and service on vehicles for its customers Reagor-Dyl<es
Floydada, LP has 26 employees

8. Over the last l3 years the Debtors along with the other dealerships under the
Reagor-Dyl<es Auto Group have grown into one of the largest auto groups in North and West
'l`exas. l'~`or the last three years in a row, the Reagor-Dykes Auto Group has been recognized by
Inc. Magazine as one of the top 5000 fastest growing privately held companies in the United
States.

Indebtedness Owed to Ford Motor Credil‘ Company

9. The Debtors obtained pre-petition floor financing from Ford Motor Credit

Company (“Ford”). Ford holds six loans against the Debtors Each loan provides various line

limits on the new and used vehicles The table below summarizes the various loans and lines:

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Reagor~Dykes Motors,

LP - Loan No. **3865

 

 

 

 

 

 

 

 

 

 

 

Line Name Original Line Limit Current Line Lirnit Outstanding Balancel
New Ford Line $27,000,000.00 $l 5,600,000.00 318,566,042.40
Used Line $l l,000,000.00 $11,000,000.00 $2,84¥,869.52
AOP Line $500,000.00 $500,000.00 3921,904.58
l\lew Lincoln Line $400,000.00 $400,000.00 346],303.43
Demo Line $I,000,000.00 $1,000,000.00 3268,825.49
Program Line $50,000.00 $50,000.00 3158,734.00
Ford-Lincoln Rent a Car $200,000.00 $200,000.00 371,120.92
Multi MFGS Accom. $100,000.00 $t00,000.00 $0.00

Ford Courtesy Trans 3150,000.00 3150,000.00 $377,069.]0
l*`ord FCTP P-Car 3100,000.00 3100,000.00 $489,937.44

 

 

Reagor-Dyl<es lmports,

LP - Loan No. "‘*1560

 

 

 

 

 

 

lsine Name Original Line Lirnit Current Line Limit Outstanding Balance
l\/litsubishi New $6,500,000.00 &Bl ,600,000.00 $2,599,985.66
Multi MFGS Used $10,600,000.00 310,600,000.00 $3,399,728.50
Multi MFGS Accom. $400,000.00 3400,000.00 $l 77,951.25
l\/lulti l\/IFGS Demo $l00,000.00 3100,000.00 $74,041.25
ml§/lulti MFGS Service 3250.000.00 $250,000.00 $27,450.00

 

 

Reagor-Dykes Amarillo

,LP - Loan No. ’“*1558

 

 

 

 

 

 

l.ine Nanie Original Line Limit Current Line Limit Outstanding Balance

l\/Eitsubishi New $4,000,000.00 $1,300,000.00 $3,354,420.56

Multi MFGS Used 35,800,000.00 $5,800,000.00 $2,581,743.8]
ml\{ltilti MFGS Accorn. 3300,000.00 $300,000.00 $54,315.00

l\/lulti l\/IFGS Derno $100,000.00 $100,000.00 $0.00

l\/lulti MFGS Service $l00,000.00 3100,000.00 $0.00

 

 

Reagor-Dyl<es Auto Company. I_JP - Loan No. **4603

 

 

 

 

 

 

 

 

 

 

 

Line Name Original Line Lirnit Current Line l_.imit Outstanding Balance
Ford New $8,700,000.00 S6,100,000.00 56,876,536.85
Lincoln New $950,000.00 $550,000.00 3308,237.30
l\/lulti MFGS USed $7,000,000.00 $7,000,000.00 $l,873,577.50
l\/lulti MFGS Prog. $50,000.00 350,000.00 392,525.00
l\/lulti l\/[FGS Accom. $400,000.00 $400,000.00 $112,800.00
Ford Rent a Car $200,000.00 $200,000.00 $0.00

Multi MFGS Derno 3600,000.00 3600,000.00 $370,193.6l
l\/lulti l\/IFGS AOP 3300,000.00 $300,000.00 $0.00

Ford Courtesy Trans 3550.000.00 3550`000.00 $469,330.03
l`*`ord FCTP P~Car $450.000.00 $450,000.00 $946,649.04

 

 

 

 

 

 

 

1 Outstanding balance as ofAugust 2, 2018.

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Reagor-Dyl<es Plainview, LP ~ Loan l\lo. **2377

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Line l\lame Original Line Limit Current Line Lirnit Outstanding Balance
'l`oyota l\lew $10,000,000.00 $6,100_,000.00 $8,620,070.46
l\/lulti MFGS Used $4,7'00,000.00 $4,700,000.00 $2,145,682.50
l\/lulti l\/lFGS Derno $500,000.00 $500,000.00 S127,485.73
Multi MFGS Accom $250,000.00 3250,000.00 $78,]00.00
Multi MFGS Service $200,000.00 $200,000.00 $0.00
Reagor-Dyl<es Floydada, LP - Loan l\io. ’*‘°“2739
Line Namc Original Line Limit Current Line Limit Outstanding Balance
Chevrolet New $12,000,000.00 $7,050,000.00 $6,912,431.67
Multi MFGS Used $2,000,000.00 $2,000,000.00 $587,]27.50
Multi MFGS Accom $50,000.00 $50,000.00 $0.00
l\/lulti MFGS Derno $300,000.00 $300,000.00 $133,498.91
Multi MFGS AOP $200,000.00 $200,000,00 $0.00
l\/lulti MFGS Service 3150,000.00 $l50,000.00 $0.00

 

10. Ford’s debt with the Debtors is secured by the Debtors’ vehicle inventory and
titles

ll. P`ord asserts that the Debtors have defaulted under the loans on account of being
out ol` trust by 341 million The Debtors dispute this number. Based on the alleged default, Ford
has stopped all funding on the loans

E vents Leading to Chapter 11 Filings

12. To monitor the Debtors’ operations and Ford’s loans and exposure, Ford
periodically conducts audits of the Debtors’ dealerships Ford’s last audit of the Debtors was
done in June of 2018. According to Ford’s audit, the Debtors received not only a clean bill of
health, but were commended on the performance the Debtors were experiencing at the
dealerships

i3. Despite the praise received by Ford in just the past couple months Ford
conducted another audit in July, despite having done one in just last month. Based on this audit,

Ford asserts that the Debtors have been failing to meet certain standards on under their floor

financing requirements On July 26, 2018, Ford came in, conducted an audit and then on July 30q

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2018, stopped funding the Debtors under their lines of credit which fund their floor plans

l4. Additionaily, F ord provides financing to the Debtors’ customers when a customer
purchases a vehicle from the Debtors Ford ceased providing indirect lending to the Debtors and
their customers Needless to say, this froze the Debtors operations dried up their cash, and
forced them to seek protection of this Court to keep the doors open and operating

Available Cash and Budgets for Cash Collateral

15. The Debtors over the years have taken profits and invested them in investment
accounts with American Century investments To cover the payroll expenses the Debtors seek to
cover by this l`\/lotion, the Debtors have moved the investments in these accounts to their newly
opened Debtor-in-Possession accounts (“DIP Accounts"'). The Debtors do not believe these
proceeds are encumbered by the security interests of Ford l\/l`otor Credit. However, in an
abundance of caution are requesting authority to use these funds and to continue sales of
automobiles parts and other assets subject to the liens o'l` l?ord to keep the dealerships in
operation

16. Each of the Debtors have the foliowing cash available to cover the payroll

expenses described herein;

 

 

 

 

 

 

 

 

 

 

Debtor Cash Available
Reagor-Dykes l\/Iotors, LP $78,000.00

Reagor-Dykes Floydada, LP $l l l,000.00

Reagor-Dykes Plainview, LP $78,000.00

Reagor-Dykes Auto Company, LP $78,000.00

Reagor-Dykes Amarillo, LP 378,000.00

Reagor-Dykes lmports, LP $78,000.00

20. The Debtors have an immediate need to use this cash to pay its employees pay

for expenses arising in the ordinary course of the Debtors business and pay for other supplies

vital to their operations

Debtors` limergencv Motion For Autlioritv vl`o lise Cas|l Collateral
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2l. In addition the Debtors intend to keep operations going by selling vehicles at the
dealerships and generating gross profits The Debtors gross profits are already reduced by the
payment of the financing associated with the vehicle sold, the payoff for any customer trade in,
and all licensing and registration fees The Debtors will use the gross profits to cover their
operating expenses incurred in the ordinary course of business which include payroll, taxes
utilities rents repairs and maintenance

22. lvlanagement of the Debtors has prepared a budget relating to its proposed
expenditures over the next thirty (30) days which reflects the sources and uses of the funds The
budget is attached hereto and incorporated herein as Exhibit "A." Management of the Debtors
believe these cash flow projections will provide the Debtors the ability and the time to determine
the direction this case should take and consider the form of any feasible plan to restructure the
balances owed to Ford and their other creditors As shown, the cash flow projections use
historical sales and expense data to project future expenses and revenues Based on the cash flow
projections and the provisions of the automatic stay which prevents Ford from taking actions
relating to the collection and enforcement of the Ford loans the Debtors project that ending cash
after all expenses will be $598,593.00.

23, Based upon the budget, the Debtors propose to continue to operate their business
on as much of a cash basis as possible going forwardl The Debtors would request the current use
of the projected gross profits to pay expenses incurred in the ordinary course of business over the
next thirty (30) days The Debtors will continue to cut expenses where possible and operate the
dealerships in as efficient and profitable manner as possible under the current circumstances

24. As reflected in the budget, the Debtors have already made significant adjustments

to lower their expenses and to improve their cash flow. The Debtors will be reducing its work

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force in an orderly fashion over time which will allow them to maintain the status quo while
analyzing the status of the estates and the appropriate manner to administer the estates
Considemtion ofMotion on an Emergency Basis

25. in the event the Debtors are not allowed the use of cash collateral to continue their
respective business operations they will undoubtedly suffer immediate and irreparable harm as
the Debtors will have no alternative but to close their doors discontinue their operations and
liquidate their assets The Debtors believe that a liquidation ol` their assets will significantly harm
not only Ford, but their other creditors Essentially, an immediate liquidation would be a disaster
for the bankruptcy estates and their creditors

26. l,il<ewise, without the use of the cash collateral the estates will suffer immediate
and irreparable harm, by forcing them to discontinue all operations terminate the employment of
their employees and submit to an immediate liquidation of their assets

27. rl`here is presently an immediate need for the use of cash collateral in the
operation of the Debtors` businesses and they request interim use of cash collateral for a period
of thirty (30) days until a final hearing on the Debtors’ proposed use of cash collateral can be
scheduled, appropriately noticed to all creditors and parties in interest, and held. 'l`he Debtors
have cash needs for the payment of pre-petition wages to its employees and the payment of
expenses incurred by the Debtors in the ordinary course of the Debtors’ businesses "l"he
expenses that must be paid within the next thirty (30) days are reflected on the attached Exhibit
..A.~~

28. The failure to have use of the cash collateral for the purposes set forth above will
cause immediate and irreparable harm to the assets of the Debtors and will result in severe

damage and diminution to the value of their assets F or these reasons the Debtors request an

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emergency hearing on shortened notice of one (l) day’s notice on their motion for use of cash
collateral.

29. The Debtors hereby request an emergency preliminary hearing on this Motion.
The Debtors request authority to use cash collateral on an interim basis consistent with the
attached cash flow projections shown on Exhibit "`A.” The Debtors suggests that to the extent
replacement liens are necessary and appropriate to provide adequate protection that they be
granted to Ford as an asserted secured creditor in the same nature, extent and priority post-
petition as they existed pre-petition and that the Court set a hearing to consider the Debtors`
continued use of cash collateral and to grant adequate protection to the secured creditor in a
manner consistent with the requirements of the Bankruptcy Code.

WHEREFORE, PREMISES CONSIDERED, the Debtors pray that the Court set an
emergency hearing on one (l) day’s notice and determine that such notice and opportunity for
hearing is reasonable under the circumstances and upon hearing of the l\/lotion grant Debtors the
use ofthe cash collateral on an interim basis as set forth in this l\/lotion, and that the Court set a
hearing on the Debtors’ request for continued use of cash collateral beyond the initial 30-day
period, and the Court grant such other and further relief, at law or in equity, as the Court may
deem necessary and proper.

Respectfully Submitted,
MULLIN I-lOARD & BROWN, L.h.P.
P.O. Box 2585

Lubbock, Texas 79408-2585
Telephone: (806) 765-749l
Facsimile: (806) 765-0553

/s/ David R. Langston

David R. Langston, SBN: 11923800
Brad W. Oclellq SBN: 24065839

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Comzselfor Debtors, Reagor-Dykes

Motors, LP,' Reagor-Dykes Imports, LP,'
Reagor-Dykes Amm'illo, LP,' Reagor-Dykes

Auto Company, LP,' Reagor-Dykes
Plainview, LP,' Reagor-Dykes Floydada, LP

CERTIFICATE OF CONFERENCE

l certify that on the 2“d day of August, 20l8, I conferred with Keith Langley, counsel for
the secured creditor having an interest in the cash collateral sought to be used in this l\/Iotion.
While the parties have not been able to reach an agreement, counsel for the Debtors will continue
to confer with the secured creditor`s counsel to see if an agreement can be reached.

1 certify that a true and correct copy of the foregoing Motion was served on the following

/s/ David R. Langston

David R. Langston

CERTIFICATE OF SERVICE

 

parties in interest via ECF and or email on this find day of August 2018:

l.

b.)

Reagor Dykes Auto Group
l215 Ave. .1
1.ubbock, Texas 79401

l<_eith Langley and Brandon K. Bains
Langley LLP

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Westlake, Tx. 76262

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Severson & Werson

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Email: dhc@severson.com
Attorneysfor F ord Mofor Credit

 

All parties receiving notice via ECF in this case.

/s/ Brad W. Odell

Debtors` [:`mergency Motion For Authority To Usc Casli Collateral

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